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Zakarrhea Lisa Newb ern Mazzarri Bey
                                                                                  THOMAS G BRUTON
                            Plaintiff,                                        CLERK, U.S. DISTRICT COURT

                      V.                                Case No, 2019CHO2847

WILLAM B SULLIVAN
Lawyer, Circuit Court, Chancery Division           1:19-cv-07852
50 W Washington St.                                Judge Sara L. Ellis
Rm 2803                                            Magistrate Judge Jeftuey Cole
Chicago, lL 60602

                                                             gth


COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF



COMPLAINT FORM USC 2201 AND 2202


PRELIMINARY STATEMENT

William B Sullivan Lawyer, practicing Law from the Bench and case, needs to go
into federal court. Recuse Lawyer statue (735 ILCS 512-1001) (from Ch. 110, par.
2-1001) His fiduciary is with the bar association. The lawyer violation of practicing
law from the bench

"28 usc 455 section 4," Lawyer fiduciary is to the state and lllinois bar
association. I will not get an impartial hearing; the lawyer is practicing law from the
bench; the deck stacked against me. I am not a Lawyer or Law student.
     Case: 1:19-cv-07852 Document #: 1 Filed: 11/27/19 Page 2 of 10 PageID #:2




 I am Moor American National, not a U.S. Citizen. I am not Negro, Black, or
Colored.
"See 90th Congress volume first session 1 13 part 12 June 12, 1967 pg 15641     ."


Since we are part of a separate nation, the treaty of peace and friendship is
applicable.

See Article 20 and 21 The treaty of Peace and Friendship.

The Treatv of Peace and Friendship OF 1836 A.D.
Between Morocco and the United States
Article 20
"lf anv of the Citizens of the United States. or any Persons under their Protection.
shall have any disputes with each other. the Consul shall decide between the
Parties, and whenever the Consul shall require anv Aid or Assistance from our
Government, to enforce his decisions, it shall be immediately oranted to him."
Article   21
"lf any Citizen of the United States should kill or wound a Moor, or. on the contrary,
if a Moor shall kill or wound a Citizen of the United States. the Law of the Country
shall take place, and equal Justice shall be rendered. the Consul assistinq at the
Trial: and if any Delinquent shall make his escape. the Consul shall not be
answerable for him in anv manner whatever."



Resolution: Dismiss Case due to Fraud and State Embezzlement and Genocide.
Move Case to Federal Court and Disqualify or Disqualification Lawyer William B.
Sullivan practicing law from the bench and discharge the case and lien William B.
Sullivan for 356,000.00 three hundred and fifty-six hundred thousand legal tender
gold and silver or property European property and or his insurance bond with the
state. lf Federal Reserve Notes, which is not legal tender, has to be issued, please
send in voucher form so, as an Heir of my estate, can live as the natural being as I
see fit.

The damages mentioned above sen      !ffi*,,*l.:J5.,.,           Mazzarri Bey,
being a direct descendant of the Ancient Canaanites/Moabites assert my Birthright
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Claim of Right of Title. Standing squarely and duly affirmed.

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     rrhea Lisa Newbern Mazzarri Bey All rights reserved.
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                 B SULLIVANDocument #: 1 Filed: 11/27/19 Page 3 of 10 PageID #:3
         Case: 1:19-cv-07852



F{      Grnoil                                                                                                                                                Lisa Newbern <lisanewbernm azzarrl@gmail.com>



WILLIAM B SULLIVAN
2 messges

Lisa Newbern <lisnewbernmazzarri@gmail.@m>
To: Lisa Newbern <lisanewbernmazatri@gmail.cop, zarkarylbey@gmail.@m, lismazzarri2oll@hotmail.@m

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                                     OFFICE OF THE MAYOR
                                              CITY OT CIIICAGO
 RAHM EMANUEL
         MAYOFI




                                             PROCLAMATTON


wHEREAS, the Moorislt Aniericans are the descendants of rhe ancient Moabites,
                                                                                     Hamatities, and
canaanites who were peflnitted by the old Pharaohs of Kemel. to traverse fror1]
                                                                                East Africa and later
fomred themselves kirtgdoms extending from the nortliwestern and southwestern
                                                                                   shores of Afi.ica.
the Atlantic Islands onto the presellt day continental Americas; and

WHEREAS' the indigertous Moorish Peoples of the Aniericas are now             Lrnitecl in orcler to again   linlt
therlselves with the family of nations; and

WI'IEREAS, the Moori.slr Atuericans, being aboriginal to the territories ofNorth,
                                                                                         Central and So*th
Arllericas, ltave formed a sovereign Theocratic Government guided by the command
                                                                                              pr.inciples of
Iove, truth, peace' freedottr, and justice through virtue of the universal riglit
                                                                                  to self-deter,iination as
rvell as with the Declaration oll the Rights of Indigenous Peoples guaranteed
                                                                                     i, the C5arter:   and

WI-IEREAS, otr January 8, I 886, Noble Drew Ali was bom in the State North
                                                                         of        Carolina destinecl to
beconre the first Patriot of his nientally enslaved Moorish Americal People.
                                                                                 In l9l2 he was later
anoittted as "lll l{ajj Sharif Abdul Ali "by the tleads of Egypt ald l{oly
                                                                            iity of Mecca to rerurn to
the United States as the Last Prophet and Founding Fathei of the newly risen
                                                                                   Nation
                                                                                       of Moorish
Altrericatrs' As a result of the l3tl' amendment, Moirish people were emallcipated
                                                                                   fronr slavery in
i 865:

Now, T'lIEREFORE,l, RAHM EMANUEL, MAyoR oFTHE ctry oF CHICAGo, do hereby
proclairn Jatrttary 8-15,2012, to be MO0RISH AMERICAN WEEK
                                                           IN CI-llCAGo. a,cl urg. uil
residents to lecognize the events plarrned for this tirle.

Dated this 22"d day of l)ecenrber,20l   l.
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